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                               UNITED STATES DISTRICT COURT
                                                        Southern District of Florida
                                                               Miami Division


UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE

                         v.                                           Case Number: 16-20549-CR-SCOLA
                                                                      USM Number: 13746-104
          PHILIP ESFORMES
                                                                      Counsel For Defendant: Howard Srebnick, Esq./Marissel
                                                                      Descalzo, Esq.
                                                                      Counsel For The United States: Elizabeth Young, AUSA
                                                                      Court Reporter: Tammy Nestor
The defendant was found guilty on Counts 6, 8, 9, 10, 11, 12, 13, 16, 18, 19, 20, 21, 25, 26, 27, 28, 30, 31, 32,
and 34 of the indictment.
The defendant is adjudicated guilty of these offenses:
                                                                                                     OFFENSE
TITLE & SECTION                              NATURE OF OFFENSE                                                         COUNT
                                                                                                      ENDED
                                             Conspiracy to Defraud the United States and Pay
18 U.S.C. §371                                                                               July 2016                        6
                                             and Receive Health Care Kickbacks
                                             Receipt of Kickbacks in Connection with a
42 U.S.C. 1320a-7b(b)(1)(A)                                                                      February 5, 2014             8
                                             Federal Health Care Program
                                             Receipt of Kickbacks in Connection with a
42 U.S.C. §1320a-7b(b)(1)(A)                                                                     May 6, 2014                  9
                                             Federal Health Care Program
                                             Payment of Kickbacks in Connection with a
42 U.S.C. §1320a-7b(b)(2)(A)                                                                     April 2, 2012           10-13
                                             Federal Health Care Program
18 U.S.C. §1956(h)                           Conspiracy to Commit Money Laundering               June 2016                16
18 U.S.C. §1956(a)(1)(B)(i)                  Money Laundering                                    April 2, 2012           18-21
18 U.S.C. §1956(a)(1)(B)(i)                  Money Laundering                                    February 5, 2014         25
18 U.S.C. §1956(a)(1)(B)(i)                  Money Laundering                                    May 6, 2014              26
18 U.S.C. §1956(a)(1)(B)(i)                  Money Laundering                                    July 8, 2015             27
18 U.S.C. §1956(a)(1)(B)(i)                  Money Laundering                                    December 1, 2014         28
18 U.S.C. 1956(a)(1)(B)(i)                   Money Laundering                                    February 29, 2016        30
18 U.S.C. §371                               Conspiracy to Commit Federal Program Bribery August 2015                     31
                                             Conspiracy to Commit Federal Program Bribery
18 U.S.C. §371                                                                            December 1, 2015                32
                                             and Honest Services Wire Fraud
18 U.S.C. §1503                              Obstruction of Justice                              June 1, 2015             34
The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.
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It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
attorney of material changes in economic circumstances.




                                                          Date of Imposition of Sentence: September 12, 2019



                                                          ____________________________________________
                                                          ROBERT N. SCOLA, Jr.
                                                          United States District Judge


                                                          Date: September 12, 2019
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DEFENDANT: PHILIP ESFORMES
CASE NUMBER: 16-20549-CR-SCOLA

                                                            IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 240 months, consisting of 60 months as to Counts 6, 8, 9 and 10, to be served consecutively to each
other and concurrently to all other counts; 60 months as to Counts 11, 12, 13, 31, and 32, to be served
concurrently to each other and all other counts; 240 months as to Counts 16, 18, 19, 20, 21, 25, 26, 27, 28, and
30, to be served concurrently to each other and all other counts; and 120 months as to Count 34, to be served
concurrently to all other counts.
The defendant is remanded to the custody of the United States Marshal.

                                                              RETURN
I have executed this judgment as follows:




Defendant delivered on ________________________________________ to ________________________________________

at ________________________________________, with a certified copy of this judgment.




                                                                 ___________________________________________
                                                                 UNITED STATES MARSHAL


                                                                 ___________________________________________
                                                                 DEPUTY UNITED STATES MARSHAL
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DEFENDANT: PHILIP ESFORMES
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                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years, consisting of 3 years as
to Counts 6, 8, 9, 10, 11, 12, 13, 16, 18, 19, 20, 21, 25, 26, 27, 28, 30, 31, 32 and 34, with all terms to run concurrently with
each other.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter, as determined by the court.

The defendant shall cooperate in the collection of DNA as directed by the probation officer.

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                            STANDARD CONDITIONS OF SUPERVISION
     1.    The defendant shall not leave the judicial district without the permission of the court or probation officer;
     2.    The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first fifteen
           days of each month;
     3.    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4.    The defendant shall support his or her dependents and meet other family responsibilities;
     5.    The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
           other acceptable reasons;
     6.    The defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7.    The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8.    The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9.    The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
           convicted of a felony, unless granted permission to do so by the probation officer;
     10.   The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
           of any contraband observed in plain view of the probation officer;
     11.   The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
           officer;
     12.   The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
           the permission of the court; and
     13.   As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
           criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
           confirm the defendant’s compliance with such notification requirement.
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                                              SPECIAL CONDITIONS OF SUPERVISION

Financial Disclosure Requirement - The defendant shall provide complete access to financial information,
including disclosure of all business and personal finances, to the U.S. Probation Officer.

Health Care Business Restriction - The defendant shall not own, directly or indirectly, or be employed, directly or
indirectly, in any health care business or service, which submits claims to any private or government insurance
company, without the Court’s approval.

No New Debt Restriction - The defendant shall not apply for, solicit or incur any further debt, included but not
limited to loans, lines of credit or credit card charges, either as a principal or cosigner, as an individual or through
any corporate entity, without first obtaining permission from the United States Probation Officer.

Self-Employment Restriction - The defendant shall obtain prior written approval from the Court before entering
into any self-employment.

Unpaid Restitution, Fines, or Special Assessments - If the defendant has any unpaid amount of restitution, fines,
or special assessments, the defendant shall notify the probation officer of any material change in the defendant’s
economic circumstances that might affect the defendant’s ability to pay.
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                                                  CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                                    Assessment          Fine               Restitution
             TOTALS                                  $2,000.00           0              To be determined


The determination of restitution is deferred until November 21, 2019 at 9:00 a.m, at which time a hearing
will be conducted on both restitution and forfeiture. An Amended Judgment in a Criminal Case (AO
245C) will be entered after such determination.
If the defendant makes a partial payment, each payee shall receive an approximately proportioned
payment, unless specified otherwise in the priority order or percentage payment column below. However,
pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.
NAME OF PAYEE                                                    TOTAL LOSS*    RESTITUTION ORDERED
Restitution with Imprisonment - It is further ordered that the defendant shall pay restitution in the
amount To Be Determined. During the period of incarceration, payment shall be made as follows: (1) if the
defendant earns wages in a Federal Prison Industries (UNICOR) job, then the defendant must pay 50% of
wages earned toward the financial obligations imposed by this Judgment in a Criminal Case; (2) if the
defendant does not work in a UNICOR job, then the defendant must pay a minimum of $25.00 per quarter
toward the financial obligations imposed in this order. Upon release of incarceration, the defendant shall
pay restitution at the rate of 10% of monthly gross earnings, until such time as the court may alter that
payment schedule in the interests of justice. The U.S. Bureau of Prisons, U.S. Probation Office and U.S.
Attorney’s Office shall monitor the payment of restitution and report to the court any material change in
the defendant’s ability to pay. These payments do not preclude the government from using other assets or
income of the defendant to satisfy the restitution obligations.
* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
**Assessment due immediately unless otherwise ordered by the Court.
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                                                            SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as
follows:
A. Lump sum payment of $2,000.00 due immediately.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.
This assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:
U.S. CLERK'S OFFICE
ATTN: FINANCIAL SECTION
400 NORTH MIAMI AVENUE, ROOM 08N09
MIAMI, FLORIDA 33128-7716
The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and
the U.S. Attorney's Office are responsible for the enforcement of this order.
Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate.
CASE NUMBER
                                                                                           JOINT AND SEVERAL
DEFENDANT AND CO-DEFENDANT NAMES                                   TOTAL AMOUNT
                                                                                           AMOUNT
(INCLUDING DEFENDANT NUMBER)
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest,
(4) fine principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of
prosecution and court costs.
